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                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF MARYLAND

  PETER J. MESSITTE                                                                  6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE                                                       GREENBELT, MARYLAND 20770
                                                                                           301-344-0632




                                              MEMORANDUM

      TO:            Counsel of Record in the attached list of Visa Application Cases

      FROM:          Judge Peter J. Messitte
                     Senior U.S. District Judge, Maryland

      RE:            Recent requests for expedited handling of visa applications

      DATE:          August 26, 2021

                                                     ***

             As of today, some 100 cases have recently been brought in our court against USCIS
      (whose headquarters are in the District of Maryland), in which petitioners seek expedited
      consideration of their visa applications (many before September 30). A list of as many cases as
      we have been able to identify is attached.

               I have been authorized by my U.S. District Court colleagues (most of whom have one or
      more of these cases) to handle the logistics as to all these cases (and similar cases subsequently
      filed). To that end, I am staying all actions in these cases, except where review of particular
      applications is actively under way.

             Further, I am scheduling a Zoom conference with Plaintiffs’ counsel in these cases plus
      one or more representatives of USCIS for Wednesday, September 1, 2021 at 11:00 a.m.
      Eastern Time to discuss the possible issuance of a USCIS protocol to deal with these cases.

             I am asking USCIS to be prepared at the Zoom conference to discuss such a protocol,
      including among other things:

              1. The extent to which any of these cases more properly belong in courts other than the
                 U.S. District Court for Maryland;
              2. The nature of any problems in expediting the applications;
              3. The sequencing of processing applications;
              4. The possibility of assigning (at least temporarily) additional USCIS personnel to
                 process these applications;
              5. An indication of what options exist if applications are not processed by September 30,
                 2021
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        You will be sent a link to the Zoom conference by the close of business on Tuesday,
August 31.
        Despite the informal nature of this ruling, it shall constitute an order of the Court, and the
Clerk is directed to docket it accordingly.


                                                                 /s/
                                                            PETER J. MESSITTE
                                                      UNITED STATES DISTRICT JUDGE

cc:    Court files
